 Case 18-02521-5-DMW            Doc 13 Filed 11/07/18 Entered 11/07/18 16:55:39                 Page 1 of 3
                              UNITED STATES BANKRUPTCY COURT
                            EASTERN DISTRICT OF NORTH CAROLINA
                                      RALEIGH DIVISION

                                                                             CASE NO.: 18-02521-5-DMW
                                                                                           CHAPTER 13
IN RE:
BENITA W SCOTT
9052 CHELSEA DRIVE
RALEIGH, NC 27603

DEBTOR

                                  TRUSTEE'S MOTION TO DISMISS

        The undersigned Chapter 13 Trustee hereby moves the Court to dismiss the above-referenced case for
the reason(s) set forth below:

1. The Debtor has not provided the Trustee with a copy of the filed federal and/or state tax return for the
year(s): 2017.

        WHEREFORE, based upon the foregoing, and such other causes that may arise between the date of
this Motion and the date of any hearing hereon, this case should be dismissed pursuant to 11 U.S.C. §1307,
and the Trustee also respectfully requests that the Court grant to the Trustee any other relief the Court deems
just and proper.

DATED: November 07, 2018
                                                                   /s/ John F. Logan
                                                                   John F. Logan
                                                                   Chapter 13 Standing Trustee
                                                                   Eastern District of North Carolina
                                                                   NC State Bar No. 12473
                                                                   PO Box 61039
                                                                   Raleigh, NC 27661-1039
                                                                   Telephone: (919) 876-1355
 Case 18-02521-5-DMW             Doc 13 Filed 11/07/18 Entered 11/07/18 16:55:39                   Page 2 of 3
                               UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF NORTH CAROLINA
                                       RALEIGH DIVISION

                                                                                CASE NO.: 18-02521-5-DMW
                                                                                              CHAPTER 13
IN RE:
BENITA W SCOTT

DEBTOR

                                            NOTICE OF MOTION

        John F. Logan, Chapter 13 Trustee has filed papers with the Court to dismiss this case.

        Your rights may be affected. You should read these papers carefully and discuss them with your
attorney, if you have one in this bankruptcy case. (If you do not have an attorney, you may wish to consult one).

        If you do not want the Court to grant the relief sought in the motion, or if you want the Court to
consider your views on the Motion, then within twenty-one (21) days of this Notice, unless otherwise ordered,
you or your attorney must file with the Court, pursuant to Local Rule 9013-1 and 9014-1, a written response,
an answer explaining your position, and a request for hearing at:

                                             US Bankruptcy Court
                                        Eastern District of North Carolina
                                                  PO Box 791
                                               Raleigh, NC 27602

         If you mail your response to the Court for filing, you must mail it early enough so the Court will receive
it within twenty-one (21) days of this Notice.

         If a response and a request for hearing is filed in timely, a hearing will be conducted on the Motion at a
date, time and place to be later set and all parties will be notified accordingly.

        If you or your attorney do not take these steps, the Court may decide that you do not oppose the relief
sought in the Motion and may enter an order granting that relief.

DATED: November 07, 2018
                                                                          /s/ John F. Logan
                                                                          John F. Logan
                                                                          Chapter 13 Standing Trustee
                                                                          Eastern District of North Carolina
                                                                          NC State Bar No. 12473
                                                                          PO Box 61039
                                                                          Raleigh, NC 27661-1039
                                                                          Telephone: (919) 876-1355
 Case 18-02521-5-DMW             Doc 13 Filed 11/07/18 Entered 11/07/18 16:55:39                   Page 3 of 3
                               UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF NORTH CAROLINA
                                       RALEIGH DIVISION

                                                                                CASE NO.: 18-02521-5-DMW
                                                                                              CHAPTER 13
IN RE:
BENITA W SCOTT

DEBTOR


                                      CERTIFICATION OF SERVICE

        I, Nancy Burton, of PO Box 61039, Raleigh, NC 27661-10139, do certify:

        That I am, and at all times hereinafter mentioned was, more than eighteen(18) years of age; and

         That I have this day served copies of the foregoing Trustee's Motion to Dismiss and Notice of Motion
on the parties listed below by depositing a copy of same in the United States mail bearing sufficient postage, or
if such interested party is a Filing User, by serving such interested party by electronic transmission, pursuant to
Local Rule 5005-4(9)(b).

DATED: November 07, 2018
                                                                          /s/Nancy Burton
                                                                          Case Administrator


By U.S. Mail:

DEBTOR
BENITA W SCOTT
9052 CHELSEA DRIVE
RALEIGH, NC 27603

By CM/ECF:

ATTORNEY FOR DEBTOR
DANNY BRADFORD
PAUL D. BRADFORD, PLLC
455 SWIFTSIDE DR., STE. 106
CARY, NC 27518-7198
